  Case 3:23-cv-00293-MHL Document 29 Filed 09/11/23 Page 1 of 7 PageID# 313




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION


                                                      )
ALTRIA GROUP, INC.,                                   )
                                                      )
                Plaintiff,                            )    Civil Action No. 3:23-CV-293-MHL
                                                      )
        v.                                            )
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                Defendant.                            )
                                                      )
                                                      )
                                                      )

             MEMORANDUM IN SUPPORT OF PLAINTIFF’S UNOPPOSED
                     MOTION TO STAY PROCEEDING

       Plaintiff Altria Group, Inc. (“Altria”) hereby submits its Memorandum in Support of

Plaintiff’s Unopposed Motion to Stay Proceeding pending a decision by the Supreme Court of

the United States in Moore v. United States, No. 22-800. Defendant, United States of America,

joins in the relief sought. For the reasons set forth below, Altria respectfully requests that the

Court grant its Motion.

                                            Introduction

       The Supreme Court of the United States granted certiorari in Moore v. United States on

June 26, 2023. 143 S. Ct. 2656 (2023). The question presented in Moore, as framed by

petitioners, is “[w]hether the Sixteenth Amendment authorizes Congress to tax unrealized sums

without apportionment among the states.” Brief for Petitioners at i, No. 22-800 (U.S. Aug. 30,

2023) (emphasis added). Under Count I of its Complaint, Altria contends that it is entitled to a

refund of tax, in part, because it was taxed on income that it did not realize in violation of the




                                                  1
    Case 3:23-cv-00293-MHL Document 29 Filed 09/11/23 Page 2 of 7 PageID# 314




Sixteenth Amendment. Compl. ¶ 85, ECF No. 1. A decision by the Supreme Court in Moore

will be binding authority on this Court and, for that reason, judicial economy will be served by

staying Count I. The parties have conferred and agree that summary judgment is appropriate to

resolve Count I and, if the Court grants this Motion, intend to proceed with summary judgment

filings following the Supreme Court’s decision in Moore.

        Counts II-IV should similarly be stayed as the parties are working to resolve them and

Altria does not currently expect that they will require the Court’s intervention. Consequently,

Altria requests a stay pending a decision by the Supreme Court in Moore. Defendant, United

States of America, joins in the relief sought.

                                        Overview of Moore

        The Moore case presents the constitutional question of whether the Mandatory

Repatriation Tax (“MRT”),1 enacted as part of the Tax Cuts and Jobs Act of 2017, Pub. L. No.

115-97, 131 Stat. 2054 (2017) (“TCJA”), is a direct unapportioned tax that violates the

Constitution’s Apportionment Clause.

        The Apportionment Clause provides that “No Capitation, or other direct, Tax shall be

laid, unless in Proportion to the Census or Enumeration herein before directed to be taken.” U.S.

Const. art. I, § 9, cl. 4. The Sixteenth Amendment, ratified in 1913, provides an exception to the

Apportionment Clause for “incomes, from whatever source derived.” U.S. Const. amend. XVI.

Thus, pursuant to the Sixteenth Amendment, a tax on “income” need not be apportioned among a

state’s population.



1
 The MRT is a one-time tax imposed on U.S. shareholders owning at least 10 percent of a
controlled foreign corporation (“CFC”). 26 U.S.C. § 965. Under the MRT, U.S. shareholders
owning at least 10 percent of a CFC were required to pay tax on their allocable share of the
corporation’s accumulated profits. Id.

                                                 2
  Case 3:23-cv-00293-MHL Document 29 Filed 09/11/23 Page 3 of 7 PageID# 315




       The plaintiff’s central argument in Moore is that the MRT is not a tax on income, but

rather an unapportioned tax on property in violation of the Apportionment Clause. Moore v.

United States, 36 F.4th 930, 937 (9th Cir. 2022). For this, the Moores rely principally on the

Supreme Court’s decision in Eisner v. Macomber, 252 U.S. 189 (1920), which held that the

“characteristic and distinguishing attribute of income” is that “a gain, a profit, something of

exchangeable value” is “received or drawn by the recipient (the taxpayer) for his separate use,

benefit and disposal.” Macomber, 252 U.S. at 207 (emphases in original). Using this definition,

there is no income upon which a tax may be constitutionally imposed unless and until the amount

subject to tax has been “realized.” And, according to the Moores, the MRT is an

unconstitutional unapportioned direct tax on property because it taxes amounts that have not

been “realized.”

       The Ninth Circuit disagreed with the plaintiffs in Moore, rejecting the definition of

“income” espoused in Eisner v. Macomber. Moore, 36 F.4th 930 at 937. The Moores petitioned

the Supreme Court of the United States for a writ of certiorari, which the Supreme Court of the

United States granted on June 26, 2023. The plaintiffs in Moore filed their opening brief on

August 30, 2023, and the Government is scheduled to respond on October 16, 2023. We expect

that oral arguments in Moore will take place before the end of 2023, and that the Supreme Court

of the United States will issue a decision in the first half of 2024.

                       Altria Was Similarly Taxed on Unrealized Income

       Like the plaintiff in Moore, Altria contends that it has been unconstitutionally taxed on

income that it did not realize. Specifically, Altria was taxed on income earned by certain foreign

subsidiaries of Anheuser-Busch InBev SA/NV (“ABI”), as a result of Altria’s minority

investment in ABI. Compl. ¶¶ 30-41, 56. Altria relies on Eisner v. Macomber to establish that



                                                   3
  Case 3:23-cv-00293-MHL Document 29 Filed 09/11/23 Page 4 of 7 PageID# 316




this tax was unconstitutional. Compl. ¶¶ 37-38. Thus, whether the Sixteenth Amendment

permits taxation of amounts that have not been realized is squarely at issue in this case.

       In addition to Altria’s argument that the tax violates the Sixteenth Amendment and

Eisner v. Macomber, Altria contends that the tax at issue is contrary to the plain language of 26

U.S.C. §§ 951 and 957 and the overall framework of the subpart F rules; inconsistent with

Congress’s clearly expressed legislative intent; and in violation of the Fifth Amendment to the

U.S. Constitution. Compl. ¶¶ 85. Thus, Altria has set forth multiple grounds for relief, one of

which is expected to turn on the outcome of Moore.

                                            Argument

       “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); see Buzzell v. JP

Morgan Chase Bank, No. 3:13-CV-668, 2015 WL 5254768, at *1-2 (E.D. Va. Sept. 9, 2015).

“The determination by a district judge in granting or denying a motion to stay proceedings calls

for an exercise of judgment to balance the various factors relevant to the expeditious and

comprehensive disposition of the causes of action on the court’s docket.” United States v.

Georgia Pac. Corp., 562 F.2d 294, 296 (4th Cir. 1977). Those factors include: “(1) the interests

of judicial economy; (2) hardship and equity to the moving party if the action is not stayed; (3)

potential prejudice to the non-moving party.” Buzzell, 2015 WL 5254768, at *1-2 (E.D. Va. Sept.

9, 2015) (citing Johnson v. DePuy Orthopaedics, Inc., 3:12-CV-2274, 2012 WL 4538642, at *2

(D.S.C. Oct. 1, 2012) (quoting Meyers v. Bayer AG, 143 F. Supp. 2d 1044, 1049 (E.D. Wis.

2001))).

       District courts may stay proceedings where resolution of a similar issue may provide



                                                 4
  Case 3:23-cv-00293-MHL Document 29 Filed 09/11/23 Page 5 of 7 PageID# 317




guidance to the district court in deciding the issues before it. Landis, 299 U.S. at 254-55; Hickey

v. Baxter, 833 F.2d 1005 (Table), 1987 WL 39020, at *1 (4th Cir. 1987) (“We find that the

district court acted within its discretion in staying proceedings while awaiting guidance from the

Supreme Court in a case that could decide relevant issues.”); Preston v. United States, No. CIV.

A. No. ELH-14-01920, 2015 WL 221633, at *9 (D. Md. Jan. 15, 2015) (“Because the Supreme

Court’s holding in Wong may resolve the question of whether equitable tolling applies to §

2401(b), a decision at this time would be an inefficient use of the Court’s resources.”); In re Mut.

Funds Inv. Litig., No. 04-MD-15863, 2011 WL 1540134, at *2 (D. Md. Apr. 20, 2011) (Finding

that “a stay would promote judicial economy by avoiding the litigation of a set of disputed issues

that the Fourth Circuit is likely to soon resolve in a similar case.”).

        Moore v. United States raises the same question of whether “income,” within the

meaning of the Sixteenth Amendment, requires realization. Because this action raises the same

issue as Moore, staying this case pending resolution of Moore will promote judicial economy by

avoiding duplicative litigation involving these questions. Furthermore, the parties are jointly

requesting this relief, thus no hardship or potential prejudice will result to either party as a result

of a stay of proceedings.

        There are three issues set forth in the Complaint that will not be directly impacted by the

decision in Moore. Compl. ¶¶ 67-83. Altria is in ongoing, productive discussions with the IRS

regarding those issues and thus a stay of the proceedings will provide the parties with additional

time to resolve them. Compl. ¶ 11 (explaining Altria’s hope that these discussions will obviate

the need for a trial); see also Def.’s Unopposed Mot. For An Ext. Of Time To Respond To Pl.’s

Compl., ECF No. 18). A stay of the proceedings will provide the parties with additional time to

resolve those issues and potentially obviate the need for trial. Thus, a stay of the proceedings



                                                   5
 Case 3:23-cv-00293-MHL Document 29 Filed 09/11/23 Page 6 of 7 PageID# 318




will also promote judicial economy for those issues not directly impacted by Moore.

Respectfully submitted this 11th day of September, 2023.

                                            COUNSEL FOR PLAINTIFF

                                            /s/ Edward J. Fuhr
                                            Edward J. Fuhr (VSB No. 28082)
                                            Johnathon E. Schronce (VSB No. 80903)
                                            Hunton Andrews Kurth LLP
                                            951 East Byrd Street
                                            Richmond, VA 23219-4074
                                            Telephone: 804-788-8201
                                            Facsimile: 804-788-8218
                                            efuhr@hunton.com
                                            jschronce@hunton.com

                                            Rajiv Madan (Pro hac vice)
                                            Christopher Bowers (Pro hac vice)
                                            Royce Tidwell (Pro hac vice)
                                            Paige Braddy (Pro hac vice)
                                            Skadden, Arps, Slate, Meagher & Flom LLP
                                            1440 New York Avenue, N.W.
                                            Washington, DC 20005
                                            Telephone: (202) 371-7000
                                            Facsimile: (202) 393-5760
                                            Email: raj.madan@skadden.com
                                                     chris.bowers@skadden.com
                                                     royce.tidwell@skadden.com
                                                     paige.braddy@skadden.com

                                            Attorneys for Plaintiff Altria Group, Inc.




                                               6
 Case 3:23-cv-00293-MHL Document 29 Filed 09/11/23 Page 7 of 7 PageID# 319




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of September, 2023, I will electronically file the

foregoing Memorandum in Support of Plaintiff’s Unopposed Motion to Stay Proceeding with the

Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the attorneys of record.




                                              /s/ Edward J. Fuhr
                                              Edward J. Fuhr (VSB No. 28082)
                                              Hunton Andrews Kurth LLP
                                              951 East Byrd Street
                                              Richmond, VA 23219-4074
                                              Telephone: 804-788-8201
                                              Facsimile: 804-788-8218
                                              efuhr@hunton.com




                                                 7
